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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                     4:13CR3122

       vs.
                                                          MEMORANDUM AND ORDER
DANICIELIZ ALLISON,

                      Defendant.


       Defendant Allison has moved to continue the status conference currently set for October
17, 2014 at 2:30 p.m. (filing 80). The motion to continue is unopposed. Based on the showing
set forth in the motion, the court finds the motion should be granted. Accordingly,

       IT IS ORDERED:

       1)      Defendant’s motion to continue, (filing no. 80), is granted.

       2)      Status hearing is continued to November 10, 2014 at 10:00 a.m. before the
               undersigned magistrate.

       3)      Pretrial motions and briefs shall be filed on or before October 29, 2014 pursuant
               to filing 79.

       4)      The ends of justice served by granting the motion to continue outweigh the
               interests of the public and the defendant in a speedy trial, and the additional time
               arising as a result of the granting of the motion, the time between today’s date and
               October 29, 2014, shall be deemed excludable time in any computation of time
               under the requirements of the Speedy Trial Act, because despite counsel’s due
               diligence, additional time is needed to adequately prepare this case for trial and
               failing to grant additional time might result in a miscarriage of justice. 18 U.S.C.
               § 3161(h)(7)(A) & (B).

       October 16, 2014.


                                                     BY THE COURT:
                                                     s/ Cheryl R. Zwart
                                                     United States Magistrate Judge
